         Case 2:24-cv-01349-NR Document 29-7 Filed 10/07/24 Page 1 of 1




                   2024 NOMINATION PAPER REJECTION NOTICE
Name of Candidate West,               Cornel                          Log No. 2024C0877
                       (Last Name)    (First Name)    (M.I.)

Date 08/01/2024 No. of Nomination Paper Pages 1,282                Prepared By ______________
Office: President of the United States
Minor Political Party or Political Body Name: Justice for All
The Nomination Papers for the above listed candidate and office, which were submitted in
this office on the date listed above, cannot be accepted for the following reason(s):
 Insufficient Number of Valid Signatures     Invalid Candidate's Affidavit
 Untimely Filing                             Invalid Statement of Circulator
 Incomplete Preamble
 Filing Fee not submitted by Certified Check or Money Order
 Other __________________________________________________________________

Comments:
Department is not in receipt of valid affidavits for all 19 electors.

This letter shall serve as the official notice of the rejection. If you have any questions regarding
this notice, please feel free to call the Bureau of Elections at (717)787-5280. If the candidate is
unable to correct the defects noted above on or before the statutory deadline to file
nomination papers, the candidate may choose to file a mandamus action in Commonwealth
Court, asking the court to order the Secretary of the Commonwealth Court to accept
the nomination petitions pursuant to Section 976 of the Pennsylvania Election Code, 25 P.S.
sec. 2936. Mandamus is an extraordinary remedy which exists to compel official
performance of a non-discretionary act. Failure to act in a timely manner may impair any
potential remedies you seek. The Department cannot provide legal advice. You may wish
to consult with your own attorney.
                                             Sincerely,




                                            Jessica Mathis
                                            Director




                                         Bureau of Elections
  210 North Office Building | 401 North Street | Harrisburg, PA 17120 | 717.787.5280 | Fax 717.705.0721
                                           www.dos.pa.gov
